                                  United States District Court
                                   Middle District of Florida
                                       Orlando Division

CHRISTOPHER E. DORWORTH,

               Plaintiff,

v.                                                     NO. 6:23-00871

JOEL MICAH GREENBERG,
ANDREW W. GREENBERG, SUSAN
GREENBERG, ABBY GREENBERG,
AWG, INC., GREENBURG DENTAL
ASSOCIATES, LLC, GREENBERG
DENTAL & ORTHODONTICS, P.A.,
GREENBERG DENTAL SPECIALTY
GROUP, LLC, and A.B.,

           Defendants.
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               DEFENDANT A.B.’S MOTION TO DISMISS
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                                       INTRODUCTION

       Defendant A.B. is a victim of child sex trafficking. As set forth in detail in Joel

Greenberg’s guilty plea, A.B. was still a minor when Mr. Greenberg trafficked her for

commercial sex acts for himself and his friends. See Plea Agreement at 28-32, United

States v. Greenberg, No. 6:20-cr-0009 (M.D. Fla. May 14, 2021), ECF No. 105. 1

During the criminal prosecution, A.B. cooperated with authorities by detailing the

abuse she suffered and Mr. Greenberg’s attempts to obfuscate his conduct.


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 “Courts may take judicial notice of publicly filed documents, such as those in state court litigation,
at the Rule 12(b)(6) stage.” Harvey v. Soto, 2016 WL 6275766, at *1 n.1 (M.D. Fla. Oct. 27, 2016)
(quoting U.S. ex rel. Osheroff v. Humana Inc., 776 F.3d 805, 812 n.4 (11th Cir. 2015)).



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      In this action, Plaintiff seeks to recast A.B. as Mr. Greenberg’s partner in crime,

a participant in a conspiracy to destroy Mr. Dorworth’s reputation as revenge for his

refusal to aid Mr. Greenberg’s legal defense. In his original Complaint, Mr. Dorworth

failed to attribute any actual statements or behavior to A.B., beyond vague references

to grand jury testimony. In his Verified Amended Complaint (hereinafter, “FAC”),

Mr. Dorworth supplements with conclusory, unsupported allegations as to elements

of his claims. Ultimately, though, the picture is the same: A.B. was a victim (of both

Greenberg and Dorworth) who cooperated with law enforcement. Those two facts

about her are the sole reason that she is involved in this lawsuit. Any other allegations

in the FAC lack factual support and plausibility, and they should be disregarded.

      Additionally, the FAC improperly seeks to preempt any claims A.B. may have

against Mr. Dorworth for raping and trafficking her by making a threadbare request

for expansive declaratory judgment. This claim bears no relation to the rest of the

disputes set forth in the FAC and is both procedurally and prudentially inapt for

resolution through the present action.

                                LEGAL STANDARD

      “A pleading that states a claim for relief must contain . . . a short and plain

statement of the claim showing that the pleader is entitled to relief.” Fed. R. Civ. P.

8(a)(2). A party may move to dismiss a complaint for “failure to state a claim upon

which relief can be granted.” Fed. R. Civ. P. 12(b)(6). When deciding such a motion,

a court must “accept[] the factual allegations in the complaint as true and construe[]

them in a light most favorable to the non-moving party.” Jones v. Coors Brewing Co.,


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378 F. Supp. 3d 1132, 1134 (M.D. Fla. 2019) (citing United Techs. Corp. v. Mazer, 556

F.3d 1260, 1269 (11th Cir. 2009)). However, a court need not accept as true legal

conclusions, and “[t]hreadbare recitals of the elements of a cause of action, supported

by mere conclusory statements, do not suffice.” Ashcroft v. Iqbal, 556 U.S. 662, 678

(2009). While pleading “upon information and belief” is permissible, such allegations

must be credited only “where that belief is based on factual information that makes

the inference of culpability possible.” Tickling Keys, Inc. v. Transamerica Fin. Advisors,

Inc., 305 F. Supp. 3d 1342, 1347 n.2 (M.D. Fla. 2018) (citation and internal quotation

marks omitted). “To survive a motion to dismiss, a complaint must contain sufficient

factual matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”

Id. (quoting Bell Atl. Corp. v. Twombly, 550 U.S. 544, 570 (2007)). “A claim has facial

plausibility when the plaintiff pleads factual content that allows the court to draw the

reasonable inference that the defendant is liable for the misconduct alleged.” Id.

                                      ARGUMENT

 I.    Defamation

       Under Florida law, in order to state a claim for defamation, a plaintiff must

allege “(1) publication; (2) falsity; (3) actor must act with knowledge or reckless

disregard as to the falsity on a matter concerning a public official, or at least negligently

on a matter concerning a private person; (4) actual damages; and (5) statement must

be defamatory.” Jews for Jesus, Inc. v. Rapp, 997 So.2d 1098, 1106 (Fla. 2008) (citing

Restatement (Second) of Torts §§ 558B, 580A-580B); accord Zimmerman v. Buttigieg,




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521 F. Supp. 3d 1197, 1211 (M.D. Fla. 2021). Importantly, “[b]ecause the publication

of a statement is a necessary element in a defamation action, only one who publishes

can be subject to this form of tort liability.” Doe v. Am. Online, Inc., 783 So.2d 1010,

1017 (Fla. 2001). In turn, “[p]ublication requires that the statement be communicated

to a third person.” Zimmerman, 521 F. Supp. 3d at 1212 (citation and internal

quotation marks omitted). Although it is “not necessarily require[d] that statements

be set out verbatim” in a pleading, where “the cause of action for defamation is based

on oral statements,” a plaintiff still must “set out the substance of the spoken words

with sufficient particularity to enable the court to determine whether the publication

was defamatory.” Lipsig v. Ramlawi, 760 So.2d 170, 184-85 (Fla. Dist. Ct. App. 2000)

(quoting Edward L. Nezelek, Inc. v. Sunbeam Television Corp., 413 So.2d 51, 55 (Fla. Dist.

Ct. App 1982)). To assert a cause of action for defamation, a plaintiff must “set out

the substance of each allegedly defamatory statement. . . ; the date, place, and manner

of publication; to whom each statement was made; and facts showing the damages

flowing from each statement.” Music with Mar, LLC v. Mr. Froggy’s Friends, Inc., 2020

WL 7768941, at *3 (M.D. Fla. Dec. 30, 2020) (emphasis added).

      As an initial matter, A.B. maintains that she has never provided any false

information to anyone relating to her experiences being trafficked and statutorily

raped by Mr. Greenberg and others, much less at the behest of Mr. Greenberg. Mr.

Greenberg’s prosecution and guilty plea for these crimes clearly demonstrates this fact.

However, even taking the contrary allegations within the FAC as true for purposes of




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the present Motion, Mr. Dorworth fails to adequately allege a single instance on which

A.B. committed the tort of defamation.

       It must be noted that Mr. Dorworth has substantially reworked his allegations

since his initial (verified) Complaint, though he purports to incorporate “further

details” regarding his sprawling legal theories by reference in his FAC. FAC ¶ 348. In

the interest of time, to the extent that Mr. Dorworth “incorporates” allegations of

supposed defamation against A.B. that are not included in the FAC, A.B. incorporates

herein her responses to same as presented in her Motion to Dismiss the original

Complaint. See Mot. to Dismiss, ECF No. 46 at 5-10.

       As with the original Complaint, in Count Five of the FAC, Mr. Dorworth

alleges that “Defendant A.B. also made false statements regarding Dorworth,

including: [(1)] Falsely averring Dorworth was involved in the scheme to sex traffic

minors; [and (2)] Falsely averring Dorworth had sex with an underage A.B.” 2 FAC ¶

447. But a review of each specific factual allegation that even potentially supports

Plaintiff’s claim clearly shows that Mr. Dorworth does not allege any defamatory

statements on the part of A.B.


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 Mr. Dorworth does conclusorily allege that “Joel Greenberg and A.B. concocted a second narrative
where Dorworth and Gaetz had engaged in obstruction of justice regarding the sexual misconduct
charge” and that they, “and/or others acting at their behest,” advanced this theory in Summer 2021.
FAC ¶ 147, 148. However, the FAC includes absolutely no allegations supporting this claim. Indeed,
beyond Mr. Dorworth’s fanciful “information and belief” allegations, there is no indication that Mr.
Greenberg and A.B. have ever spoken since 2020, at the latest, and Mr. Dorworth certainly does not
provide the “who, what, when, and where” of any such statement from A.B. Regardless, A.B. takes
the absence of allegations that A.B. falsely published statements about obstruction of justice in Count
Five to mean that Mr. Dorworth does not pursue any such claim against A.B. Compare FAC ¶ 446(c)
(alleging Mr. Greenberg falsely averred that Mr. Dorworth obstructed justice), with id. ¶ 447 (making
no such allegation regarding A.B.).



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   A.      Statements Prior to April 7, 2021 Are Outside the Statute of Limitations

        The statute of limitations for defamation claims in Florida is two years. Fla.

Stat. § 95.11(4)(h).    And, under Florida law, such an action accrues not upon

discovery, but “at the time of the first publication or exhibition or utterance thereof in

this state.” Fla. Stat. § 770.07. Therefore, the statute of limitations on defamation

actions runs two years after any associated publication. Wagner, Nugent, Johnson, Roth,

Romano, Erikson, & Kupfer, P.A. v. Flanagan, 629 So.2d 113, 114-15 (Fla. 1993).

Because Mr. Dorworth filed the present suit on April 7, 2023, he is unable to recover

for any supposedly defamatory statement that was published prior to April 7, 2021.

        It is admittedly unclear, from the face of the FAC, which allegedly defamatory

statements Mr. Dorworth claims A.B. made prior to April 7, 2021. To the extent that

it is unclear exactly when such an alleged statement was made, Mr. Dorworth has

failed to meet his pleading burden for such claims, which requires that he set forth not

only the nature of the statement made, but when it was made and to whom. See Music

with Mar, LLC, 2020 WL 7768941, at *3.              However, several statements can be

conclusively ruled out as providing Mr. Dorworth a right to relief.

        In particular, any statements A.B. made to the grand jury or prosecutors prior

to April 2021 are unquestionably stale. These make up the bulk of the allegedly

defamatory statements set forth in Mr. Dorworth’s FAC. See FAC ¶¶ 120-22, 136, 152-

53. So too would be any statements made to the press before that date, though Mr.

Dorworth identifies no specific media statements before that date.




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       In the particular context of this case, one consequence of the statute of

limitations having run on all statements before April 7, 2021 is that it is nearly

impossible that any allegedly defamatory statement made by A.B. could have resulted

in Mr. Dorworth’s principal alleged damages: the loss of his consulting job. Mr.

Dorworth now seems to claim (though he does not directly allege) that he resigned

from that position no later than April 9, 2021. 3 FAC ¶ 359 n.1. Therefore, in order to

claim damages from his resignation as a result of defamation, Mr. Dorworth would

need to allege a statement made on April 7, 2021 or later that caused his resignation,

which occurred no later than April 9, 2021. See Wagner, 629 So.2d at 114-15 (rejecting

discovery rule as to defamation claims). Mr. Dorworth’s FAC is devoid of any

allegations that A.B. made any such statement during these two days.

       This Court should dismiss Mr. Dorworth’s defamation claim (and any

secondary claim relying on such conduct) to the extent it relies on statements made

prior to April 7, 2021. It likewise should dismiss Plaintiff’s claim for damages arising

from his resignation because (a) he previously signed a verified complaint in which he

attested that he resigned in March 2021 and (b) the FAC includes insufficient




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 In his original Verified Complaint, Mr. Dorworth alleged that he “served as a lobbyist prior to leaving
the profession in March 2021.” Compl. ¶ 6. Mr. Dorworth now incredibly attributes that allegation to
“a typographical or drafting error.” FAC ¶ 359 n.1. Mr. Dorworth verified the original Complaint,
attesting under penalty of perjury that he had read it, agreed with it, and the facts therein were true.
See Compl. at 116. It beggars belief that Mr. Dorworth would have overlooked such a fundamental
error in only its sixth paragraph. However, now that he has learned of the legal consequences of this
admission, Mr. Dorworth’s FAC no longer alleges the date on which he resigned. Though he disputes
“[a]ny implication from a previous draft of this pleading” that it was prior to April 9, 2021, FAC ¶ 359
n.1, he does not actually allege the date of his resignation or that it was later than April 7, 2021.



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allegations to establish that A.B. made any defamatory statements during the

actionable time period (on or after April 7, 2021) that led to Plaintiff’s resignation.

   B.      Any Statements to Grand Juries or in This Litigation Are Absolutely Privileged and
           Cannot Form the Basis for Defamation Liability

        Even if most of the statements Mr. Dorworth alleges A.B. made to the grand

jury were not time barred, Florida law is clear that any testimony made to a grand jury

is absolutely privileged and cannot be the basis of a defamation claim. Because “[t]he

office of the grand jury is investigative, as well as accusatory, . . . it is within the

province of that arm of the courts to determine the truth of testimony provided to it.”

Buchanan v. Miami Herald Pub. Co., 206 So.2d 465, 468 (Fla. 3d Dist. App. 1968). The

Florida Supreme Court has recognized this principle, confirming that when allegedly

defamatory statements are made to grand juries, they are “clearly within the scope of

the judicial proceedings privilege.” Fridovich v. Fridovich, 598 So.2d 65, 67 n.3 (Fla.

1992); see also Miller v. Support Collection Unit Westchester Cty., 2010 WL 767043, at *8

(M.D. Fla. Mar. 5, 2010) (“[I]n Florida, testimony received by a constituted grand jury

has long been considered as privileged and cannot be the basis for a cause of action for

libel or slander, or conspiracy for libel or slander.”). Thus, to the extent Plaintiff bases

his defamation claims on statements to grand juries, these claims must be dismissed.

        For similar reasons, Mr. Dorworth’s apparent suggestion that A.B.’s filings in

this case further defame him, see FAC ¶¶ 377, 482-84, are without merit. The same

absolute privilege that applies to grand jury testimony applies to “defamatory

statements made in the course of judicial proceedings . . . so long as the statements are




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relevant to the subject of inquiry.”             Levin, Middlebrooks, Mabie, Thomas, Mayes &

Mitchell, P.A. v. U.S. Fire Ins. Co., 639 So.2d 606, 607 (Fla. 1994). Any statements

regarding Mr. Dorworth’s statutory rape and trafficking of A.B. in this case are surely

relevant to this inquiry, in which Plaintiff seeks a declaration that he did not rape or

traffic A.B.

    C.      Any Remaining Alleged Defamatory Statements Are Either Implausible or
            Inadequately Pled

         Mr. Dorworth appears to identify only two statements that were potentially

made by A.B. after April 7, 2021 and outside of the litigation context, such that they

could possibly support a defamation claim against her.4 First, Mr. Dorworth identifies

a CNN article from late 2022, quoting language that:

         [t]wo women who attended parties with Greenberg and Gaetz previously
         told CNN that the men also regularly socialized together at sex parties in
         the Orlando area that featured local political figures, young women,
         Venmo payments, alcohol and drugs, including cocaine and ecstasy.

FAC ¶ 367 (quoting CNN article at https://www.cnn.com/2022/11/30/politics/joel-

greenberg-matt-gaetz-investigation-hearing/index.html).                     First, the cited article

nowhere mentions or identifies Mr. Dorworth or A.B.. Second, Mr. Dorworth fails

to reveal in his FAC that the words “sex parties” in the quote above contain a link to

an April 14, 2021 article setting forth what these two women “previously told CNN.”


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  Mr. Dorworth does not appear to allege in the FAC that a letter from A.B. to his attorney notifying
Mr. Dorworth of claims against him was defamatory. Any such claim would be spurious, as the tort
of defamation requires publication to a third-party other than the subject, and only Mr. Dorworth
publicized this letter, specifically through the instant litigation. Zimmerman v. Buttigieg, 521 F. Supp.
3d 1197, 1212 (M.D. Fla. 2021) (“Since the interest protected is that of reputation, it is essential to tort
liability for either libel or slander that the defamation be communicated to some one other than the
person defamed” (citation omitted)).



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Id. In that article, Women Detail Drug Use, Sex and Payments After Late-Night Parties with

Gaetz and Others, CNN POLITICS, https://www.cnn.com/2021/04/14/politics/gaetz-

parties-women-drug-use-sex-payments/index.html, CNN reported, “Both women

said that they never saw anyone at the parties who appeared to be underage. Neither

has spoken with federal investigators, they said.” Id. (emphasis added). In short,

this story is neither defamatory (as it fails to make any statements about Mr.

Dorworth’s conduct), nor is it plausible that A.B., who was underage at those parties

and (according to Mr. Dorworth’s own allegations) spoke with investigators prior to

April 2021, is one of the two women identified as a source.

      Second, Mr. Dorworth alleges that on April 8, 2021, he was contacted by a New

York Times reporter who informed him that she had spoken with “multiple people”

who said that the FBI was investigating Mr. Dorworth for having sex with A.B. while

she was underage. FAC ¶ 355; FAC, Ex. 8. Mr. Dorworth follows this with three

further allegations, all “[u]pon information and belief,” that “one of the Defendants in

this action,” “A.B. . . ., either directly or through an intermediary,” and “Abby

Greenberg, Joel Greenberg, and possibly Andrew and Sue Greenberg” provided

information to this reporter. FAC ¶¶ 356-58. Plaintiff adds no factual basis to support

these allegations, let alone the pertinent details required to be pled, see Music with Mar,

LLC, 2020 WL 7768941, at *3, and they should be rejected on that basis alone.

       Further, the reporter stated, at 9:34 AM on April 8, 2021, that she was planning

to publish the story “today,” rendering it implausible that any statements made by




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sources were made on or after April 7, 2021. FAC, Ex. 8. Nor does Mr. Dorworth

allege that they were.

        Even more significantly, it does not appear that the information provided by the

reporter to Mr. Dorworth was untrue. Although Mr. Dorworth alleges that A.B. told

the New York Times that he had engaged in sexual misconduct with her, FAC ¶ 357,

the reporter’s text message stated only that she had been told “that the investigation

has expanded and the FBI is scrutinizing whether you also had sex with” A.B. FAC,

Ex. 8. Mr. Dorworth has previously acknowledged that the investigation looked into

whether he had sex with A.B. See Compl. ¶¶ 459-68, 485-93. Because a statement must

be false to be defamatory, any statement to the New York Times to the effect that the

investigation had expanded is therefore not defamation.

   D.      Mr. Dorworth Caused His Own Damages, Not Defendants

        Despite Plaintiff’s claims of a sweeping smear campaign, Mr. Dorworth has in

fact been the major source of his own harms. Returning briefly to the reporter’s texts,

it is notable that Mr. Dorworth does not allege that such an article was ever published.

In fact, it does not appear that the New York Times ran an article on April 8, 2021

publicizing that Plaintiff was under investigation for statutory rape. Because these

facts were never published prior to Mr. Dorworth’s resignation, that publicity cannot

have caused him to have lost his job. Mr. Dorworth’s preemptive resignation, in fear

that some negative information might become public, does not establish the necessary

link between A.B.’s alleged statements and his alleged injury. The only person who




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had received notice of the potential article was Mr. Dorworth, and defamation requires

publication to a third party. See Zimmerman, 521 F. Supp. 3d at 1212.

       Mr. Dorworth has also claimed damage to his reputation. See, e.g., FAC ¶¶ 454.

However, he has not described any such reputational harms or the manner in which

they were caused.         In reality, it appears the first public account of Plaintiff’s

involvement in the sex trafficking and rape of A.B. was based on an interview of and

documents provided by Mr. Dorworth to NBC News.5 See Marc Caputo, The Justice

Department’s Sex Trafficking Investigation into Rep. Matt Gaetz Seems Stalled, Attorneys Say,

NBC        News,         https://www.nbcnews.com/politics/justice-department/justice-

departments-sex-trafficking-investigation-rep-matt-gaetz-seems-rcna49229                  (Oct.    8,

2022). Outside of the October 2022 article, only this lawsuit itself ever caused the

publication of these allegations against Mr. Dorworth.

       Because Mr. Dorworth has not alleged even a single defamatory statement

made by A.B. that is within the statute of limitations and not subject to an absolute

privilege, he has failed to state a claim for defamation against A.B. Plaintiff’s failure

to identify any actual damages resulting from any alleged defamation further

undermines any right to relief. For these reasons, A.B. respectfully asks this Court to

dismiss Count Five for defamation against A.B.


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 While this and following news articles are not specifically cited in the FAC, they are central to Mr.
Dorworth’s claims of reputational damage and several are referenced in the Complaint. Further, this
Court may “judicially notice a fact that is not subject to reasonable dispute because it . . . can be
accurately and readily determined from sources whose accuracy cannot reasonably be questioned,”
pursuant to Federal Rule of Evidence 201. Paez v. Sec’y, Fla. Dep’t of Corr., 947 F.3d 649, 651 (11th
Cir. 2020) (quoting Fed. R. Evid. 201(b)(2)).



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II.    Civil Conspiracy

       “To state a cause of action for civil conspiracy, a plaintiff must plead (1) an

agreement between two or more parties; (2) to do an unlawful act or a lawful act by

unlawful means; (3) the execution of some overt act in pursuance of the conspiracy;

and (4) damage to the plaintiff as a result of said acts.” Logan v. Morgan, Lewis & Bockius

LLP, 350 So.3d 404, 412 (Fla. Dist. Ct. App. 2022) (citation and internal quotation

marks omitted). In addition, because “[t]here is no freestanding cause of action in

Florida for ‘civil conspiracy,’” a plaintiff must also “allege an underlying independent

tort.” Teiera v. Lincoln Lending Servs., LLC, 271 So.3d 97, 103 (Fla. Dist. Ct. App. 2019).

Although there is no requirement that each member of a conspiracy act in furtherance

of the scheme, an alleged conspirator is not liable unless they “know of the scheme

and assist in it in some way.” Gilison v. Flagler Bank, 303 So.3d 999, 1004-05 (Fla. Dist.

Ct. App. 2020).     Finally, while “a conspiracy may be proven by circumstantial

evidence, this may be done ‘only when the inference sought to be created by such

circumstantial evidence outweighs all reasonable inferences to the contrary.’” Raimi

v. Furlong, 702 So.2d 1273, 1284 (Fla. Dist. Ct. App. 1997) (quoting Diamond v.

Rosenfeld, 511 So.2d 1031, 1034 (Fla. Dist. Ct. App. 1987)).

      The basis of Plaintiff’s civil conspiracy claim is an alleged plot to “disseminate

or assist in disseminating false information about Dorworth” in a defamatory manner.

FAC ¶ 466; see also id. ¶ 470 (alleged conspiracy violates Florida Statutes Chapter 836,




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governing defamation and similar claims).6 However, the FAC does not include any

facts to support that A.B. actually agreed to participate in this plot or even that A.B.

ever spoke with Mr. Greenberg about Mr. Dorworth, much less the dates or

approximate substance of such conversations. Instead, it offers merely the conclusory

allegation that “Greenberg, A.B., and Abby agreed” to provide false information to

authorities regarding Mr. Dorworth. FAC ¶ 123. This Court should disregard such

empty pleading of elements without factual support.

       At most, Plaintiff alleges that Mr. Greenberg stated that “he was paying for

A.B.’s attorney’s fees in an attempt to shape her testimony so that he could avoid

charges.” FAC ¶ 92 (emphasis added). In other words, the only time that Mr.

Dorworth was ever informed about the alleged conspiracy, A.B. had not agreed to

participate, and Mr. Greenberg merely intended to “attempt” to persuade her. Plaintiff

additionally relies on Mr. Greenberg’s statement that A.B. “doesn’t want to talk to”

investigators as evidence that Mr. Greenberg “did not wish A.B. to speak to the

authorities and he had induced her or attempted to induce her not to speak to the

authorities or testify before the grand jury.” FAC ¶ 116. Mr. Dorworth’s gloss on this

text message is without basis and contrary to historical reality. 7


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 Mr. Dorworth also alleges that the supposed conspiracy violated Florida Statutes Chapter 772, which
constitutes Florida’s civil RICO statute. Mr. Dorworth actually alleges two claims under Florida’s
civil RICO statute in the FAC, but he only includes A.B. in his claim for RICO conspiracy. See FAC
Count Four. In other words, Mr. Dorworth appears to fashion his civil conspiracy claim against A.B.
as a conspiracy to conspire. Needless to say, such a legal claim is essentially meaningless.
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  Mr. Dorworth also attaches a letter from a jailhouse informant detailing a conversation Mr.
Greenberg supposedly had on March 23, 2021. FAC, Ex. 7. In that conversation, Mr. Greenberg
supposedly stated that A.B. “probably would go along with” Mr. Greenberg’s alleged smear campaign
“cause she don’t know any better.” Id. at 6. He also allegedly stated that “she might think she can



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       Even if properly alleged, the agreement Plaintiff suggests between Mr.

Greenberg and A.B. fails to meet the plausibility standard. The FAC cannot ignore

that Mr. Greenberg was prosecuted for and pled guilty to sex trafficking A.B., largely

based upon her testimony against him. Evidently, then, Mr. Greenberg’s efforts to pay

for A.B.’s attorneys to control her testimony failed. Under any plausible scenario, if

Mr. Greenberg controlled A.B.’s testimony, he would have used that control to

prevent himself from being convicted for sex crimes. A much more plausible scenario

is that Mr. Greenberg was simply lying about paying A.B.’s attorneys and controlling

her testimony, while A.B. cooperated with prosecutors with total disregard for Mr.

Greenberg’s preferences. While this Court must generally accept the allegations in the

FAC as true at this procedural stage, that does not require the Court to endorse wholly

fanciful scenarios. See, e.g., Fifth Third Bank v. Qureshi, 2009 WL 10706060, at *1

(“Whether the non-conclusory facts alleged state a plausible claim for relief depends

on whether they allow the Court ‘to infer more than the mere possibility of

misconduct.’ [Iqbal, 556 U.S. at 679.] The Court generally will not make such an

inference if there is an ‘obvious alternative explanation’ for the alleged wrong.

Twombly, 550 U.S. at 567.”).

       Seeming to recognize this implausibility in his original account of the supposed

conspiracy, in his FAC Mr. Dorworth postulates a new motivation for A.B. to



file a lawsuit afterwards.” Id. Leaving aside the credibility of a verified letter from a prisoner who
cannot spell Matt Gaetz’s name but who can identify and locate Mr. Gaetz’s private attorney, this
conversation would once again confirm that A.B. had not agreed to join any conspiracy.



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sabotage his reputation: her own desire to bring legal claims against him in the future.

See, e.g., FAC ¶¶ 220-21.      However, even if true, this motive complicates Mr.

Dorworth’s conspiracy theory.        It is not clear that, acting independently of the

Greenbergs and for her own purposes, A.B. would be participating in the conspiracy

at all. Why would the Greenbergs pay A.B.’s attorney fees if she was using that

representation to provide evidence harmful to Joel Greenberg? If A.B. was impugning

Mr. Dorworth for her own purposes, not the Greenbergs, was this activity truly in

furtherance of the “Greenberg conspiracy” and evidencing an agreement to serve its

ends? The FAC supplies no answers to these questions.

       Further, as set forth supra, the FAC fails to allege even a single defamatory

statement by A.B.      Because civil conspiracy is nothing more than a procedural

mechanism to assign liability for an underlying tort, Teiera, 271 So.3d at 103, any claim

for civil conspiracy based on A.B.’s statements must fail.

       Finally, even if the FAC did state a claim for civil conspiracy against A.B., the

available damages are limited in just the same way as for defamation. Because civil

conspiracy is not its own cause of action and is merely a manner of assigning liability

for an underlying tort, it adopts the statute of limitations of the underlying tort, in this

case two years for defamation. As Mr. Dorworth has failed to identify any defamatory

statement by A.B. that caused him injury within the statute of limitations, he has also

failed to establish such injury as a result of the conspiracy. For these reasons, A.B.

respectfully asks that the Court dismiss Count Seven against her.




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III.   Civil RICO

       Mr. Dorworth includes two federal RICO claims and two Florida RICO claims

in the FAC, alleging a wide variety of supposed racketeering conduct. A.B. is only

named as a defendant in Count Two, which alleges a conspiracy to violate RICO

under 18 U.S.C. § 1962(d), and Count Four, which alleges a conspiracy to violate

Florida’s RICO statute. “Because of the similarities between Florida and federal

RICO acts, Florida looks to federal authority regarding the interpretation and

application of its act.” Palmas Y Bambu, S.A. v. E.I. Dupont De Nemours & Co., 881 So.2d

565, 570 n.1 (Fla. 3d Dist. App. 2004) (collecting cases). Accordingly, these claims

will be treated together here.

       In order to state a claim under § 1962(d), a plaintiff must allege “an illegal

agreement to violate a substantive provision of the RICO statute.” Jackson v. BellSouth

Telecommunications, 372 F.3d 1250, 1269 (11th Cir. 2004). “If the underlying cause of

action is not viable, the conspiracy claim must also fail.” Spain v. Brown & Williamson

Tobacco Corp., 363 F.3d 1183, 1199 (11th Cir. 2004) (citation and internal quotation

marks omitted). Further, a plaintiff must establish the RICO conspiracy claim itself in

one of two ways: “(1) by showing that the defendant agreed to the overall objective of

the conspiracy; or (2) by showing that the defendant agreed to commit two predicate

acts.” Am. Dental Ass’n v. Cigna Corp., 605 F.3d 1283, 1293 (11th Cir. 2010).

       Mr. Dorworth’s RICO claims are not the model of clarity, and they make

egregious use of shotgun pleading. See, e.g., FAC ¶ 411 (incorporating allegations

including, “in particular,” three sections amounting to approximately 300


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paragraphs). Indeed, paragraph 348 (which is incorporated in each RICO claim)

purports to incorporate the entire original Complaint, akin to loading a shotgun with

shotguns. The FAC fails to separate out the individual members of the enterprise and

their supposed contributions to the enterprise’s goals. To the extent (if any) that Mr.

Dorworth’s RICO claims against A.B. extend beyond those acts specifically attributed

to her, the FAC fails to afford A.B. fair notice of the basis of the claims against her.

Where plaintiffs “lump[] all the defendants together in each claim and provid[e] no

factual basis to distinguish their conduct,” dismissal is appropriate under Rule 8. See

Pierson v. Orlando Regional Healthcare Sys., Inc., 619 F. Supp. 2d 1260, 1273 (M.D. Fla.

2009). Mr. Dorworth’s group pleading here similarly justifies dismissal.

       To establish A.B.’s liability in connection with a RICO conspiracy, Plaintiff

must show either that A.B. agreed to commit two predicate acts or that she agreed to

the overall objective of the conspiracy. Even taking the FAC at its word, A.B. never

agreed to commit any predicate acts. To the extent that this claim relies on predicate

acts of defamation—and these are the only potential acts that support Mr. Dorworth’s

alleged damages of reputational and professional harm—“it is firmly established that

defamation and many other similar allegations do not provide the requisite predicate

for RICO violations.” Kimm v. Lee, 2005 WL 89386, at *5 (S.D.N.Y. Jan. 13, 2005);

see also Bela Vista Contractors, Inc. v. Tierra Del Mar Condominium Ass’n, 2015 WL

10857529, at *4 (S.D. Fla. Oct. 2, 2015) (“[S]lander or libel under state law . . . are not

predicate acts.” (citing Dowbenko v. Google Inc., 582 F. App’x 801, 806 (11th Cir. 2014)

and Rock v. BAE Sys., Inc., 556 F. App’x 869, 872 (11th Cir. 2014))). Perjury similarly


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is not a predicate act. Trump v. Clinton, 2022 WL 4119433, at *15 (S.D. Fla. Sept. 22,

2022) (“[P]erjury and falsifying documents are not RICO predicate acts.”).

        The FAC also provides no non-conclusory indication that A.B. agreed to

anything, with anyone, much less that she agreed to the overall objective of the

conspiracy: “reducing or eliminating Joel Greenberg’s criminal liability.” FAC ¶ 417.

While Mr. Dorworth provides a boilerplate allegation that A.B. agreed to the

conspiracy, FAC ¶ 123, he also tacitly acknowledges that she had no interest in

mitigating Joel’s liability by ascribing to her a separate motive for allegedly defaming

Mr. Dorworth, FAC ¶ 289 (describing the common goal of the enterprise as benefiting

and mitigating exposure for Joel, “and in A.B.’s case, creating an opportunity for civil

claims”). According to the FAC, A.B. acted as alleged for her own interest, which

was not shared by any other member of the supposed enterprise.                     These threadbare

allegations pointing directly to A.B.’s alleged independent goals from the enterprise

are not sufficient to plead a conspiratorial plot against Plaintiff.8

        Because Mr. Dorworth has failed to state claims for conspiracy to violate federal

or Florida RICO, A.B. respectfully asks this Court to dismiss Counts Two and Four.


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  Even if A.B. did accept legal fees from Mr. Greenberg (though she did not), this allegation alone
would not establish that she agreed to cooperate with the enterprise. “[W]hen determining whether
the complaint crosses the line between possibility and plausibility of entitlement to relief, courts may
infer from the factual allegations in the complaint obvious alternative explanations, which suggest
lawful conduct rather than the unlawful conduct the plaintiff would ask the court to infer.” Doe v.
Samford Univ., 29 F.4th 675, 686 (11th Cir. 2022) (internal citations and quotation marks omitted); see
also Twombly, 550 U.S. at 554 (allegations of wrongdoing were not plausible because the facts alleged
were “consistent with [liability], but just as much in line with a wide swath of” lawful conduct). Unlike
nearly every other player named in this lawsuit, A.B. was not a savvy and connected politician, nor
did she have access to millions of dollars to protect her legal interests. Given her circumstances, there
would be nothing inherently criminal about A.B. accepting help to pay for legal counsel, even if true.



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IV.    Declaratory Judgment

       Finally, Mr. Dorworth seeks a declaratory judgment from this Court that he has

never had sexual contact with A.B., that he has not compensated A.B. for sexual acts,

and that he is not liable to A.B. for any allegations to that effect. FAC ¶ 478. In his

original Complaint, he based his entitlement to such declaratory judgment solely on a

letter from A.B.’s counsel offering to discuss a private resolution of claims she has

against Mr. Dorworth for his having trafficked her. See Compl. ¶¶ 912-16; FAC ¶¶ 479-

83, 487-88. Now, Mr. Dorworth additionally describes A.B.’s response to the lawsuit

he himself publicly filed as being some form of harassment campaign. See FAC ¶¶ 484-

85 (describing A.B.’s Motion to Dismiss and an article about same (with no comment

from A.B. or her counsel) as “issu[ing] accusations” and “brandish[ing] the threat of

litigation against Dorworth”).

       Although this action was initially filed in Florida state court, because the

Florida Declaratory Judgment Act is merely a “procedural mechanism rather than a

substantive rule of decision,” the federal Declaratory Judgment Act, 28 U.S.C. § 2201,

applies to this claim following removal. Daytona Beach Riverhouse, Inc. v. Chubb Custom

Ins. Co., 2014 WL 12611320, at *3 (M.D. Fla. Mar. 20, 2014) (internal quotation marks

omitted). “Like all claims, a request for declaratory relief is subject to the standing

doctrine,” which is established if an “actual controversy”—the same as Article III’s

“case or controversy” requirement—exists. Methelus v. Sch. Bd. of Collier Cty., 2017 WL

3421470, at *2 (M.D. Fla. Aug. 9, 2017). To establish a case or controversy, “a party

must show that ‘(1) [it] is likely to suffer a future injury; (2) [it] is likely to suffer the


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injury at the hands of the [opposing party]; and (3) the relief [it] seeks will likely prevent

the injury from occurring.’” Id. (quoting Navellier v. Florida, 672 F. App’x 925, 928

(11th Cir. 2016)). In order to establish an injury in fact, a litigant “must point to a

‘legally protected interest’ that [the opposing party] ha[s] allegedly invaded. Methelus,

2017 WL 3421470, at *3. “No legally cognizable injury arises unless an interest is

protected by statute or otherwise.” Id. (quoting Bochese v. Town of Ponce Inlet, 405 F.3d

964, 980 (11th Cir. 2005)).

       Mr. Dorworth’s claim for declaratory relief subverts the purposes of the

Declaratory Judgment Act. “The purpose of a declaratory judgment is to determine

parties’ rights and duties without having to resort to a tort or breach of contract as a

prerequisite to a judicial determination.” Dimuccio v. D’Ambra, 750 F. Supp. 495, 498

(M.D. Fla. 1990).      In other words, the purpose of the Act and its procedural

mechanism is to allow parties to resolve ripe legal disputes without requiring litigants

to “bet the farm” by potentially violating each other’s rights to gain admission to court.

       Plaintiff, by contrast, primarily seeks to resolve his legal liability for a tort that

occurred years ago.      Declaratory judgment was not intended for tortfeasors to

preemptively seek absolution for their past actions, let alone at a time and in a forum

of their choosing. Mr. Dorworth, moreover, does not even identify the specific dispute

he seeks to resolve through his request, as he asks for a declaration that “he is not liable

to [A.B.] for any allegations described in this pleading,” without specifying a particular

theory of relief. FAC ¶¶ 496. A.B. could potentially bring any number of claims against

Mr. Dorworth were she to pursue her legal rights, but Mr. Dorworth asks this Court


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to canvass any possible source of liability without limitation. That Plaintiff is unable

to specify the nature of the declaration he seeks to receive demonstrates that the parties’

dispute is not yet ripe for determination. Devs. Sur. & Indem. Co. v. Archer W. Contractors,

LLC, 2017 WL 6947785, at *3 (M.D. Fla. Apr. 17, 2017).

       Further, Mr. Dorworth has failed to identify any legally protected interest that

would be violated by A.B. in the absence of a declaratory judgment, as is necessary to

establish standing. Simply put, Mr. Dorworth has no legal right not to be sued by A.B.

for harms he caused her. Admittedly, the prospect of future litigation often plays a

role in justifying declaratory judgment actions. However, those suits predominantly

concern the established legal rights of potential litigants, such as are set forth in a

contract or insurance policy. Here, Mr. Dorworth appears to assume some right not

to be civilly sued for his personal conduct where no such right exists. In the absence

of “an invasion of a legally protected interest” that is “concrete and particularized”

and “actual or imminent, not conjectural or hypothetical,” Mr. Dorworth has not

established standing. Lujan v. Defenders of Wildlife, 504 U.S. 555, 560 (1992).

       In his FAC, Mr. Dorworth adds slightly to his request for declaratory judgment.

In addition to determining whether he is liable to A.B., Mr. Dorworth seeks to

determine “whether A.B. is liable to him, and whether A.B. is entitled to claim in the

press or in legal documents that Dorworth is liable to her or committed misconduct.”

FAC ¶ 491.      Although Plaintiff does not elaborate on either question, the first

(concerning A.B.’s liability) appears to be duplicative of the rest of this lawsuit.




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Presumably, the Court’s resolution of Mr. Dorworth’s stated claims would answer this

question and declaratory judgment would be purely superfluous.

       Regarding the second, the declaratory judgment Mr. Dorworth appears to seek

(that A.B. is not “entitled” to make claims that he “is liable to her or committed

misconduct”) is either duplicative of his original request for a declaration that he is not

liable to her or is a prior restraint on speech. A prior restraint is a law “forbidding

certain communications when issued in advance of the time that such communications

are to occur.” Alexander v. United States, 509 U.S. 544, 550 (1993) (emphasis in

original). In Murray Energy Holdings Co. v. Mergermarket USA, Inc., 2016 WL 3365422

(S.D. Ohio June 17, 2016), a district court considered a similar claim. Reasoning that

“the prior-restraint doctrine does not apply only to injunctions but to all

‘administrative and judicial orders that block expressive activity before it can occur,’”

id. at *8 (quoting Polaris Amphitheater Concerts, Inc. v. City of Westerville, 267 F.3d 503,

506 (6th Cir. 2001)), the court held that a declaratory judgment forbidding future

publication would not be justified absent “extraordinary reasons” such as national

security concerns. Id. Attempts “to arrest the future speech of a defendant as a result

of his past conduct [would] operate[] like a censor, and as such violates First

Amendment protections against prior restraint of speech.” Id. (citation omitted).

Plaintiff has made no showing of “extraordinary reasons” justifying a prior restraint,

which is also outside the bounds of the Declaratory Judgment Act’s purpose.

       Even if Mr. Dorworth properly stated a claim for declaratory judgment (though

he did not), this Court has discretion not to hear this claim. Ameritas Variable Life Ins.


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Co. v. Roach, 411 F.3d 1328, 1330 (11th Cir. 2005) (the Declaratory Judgment Act

“confers a discretion on courts” and “only gives the federal courts competence to make

a declaration of rights; it does not impose a duty to do so” (citation omitted)). This

Court has many reasons before it to dismiss Mr. Dorworth’s request. First, the

declaratory judgment Count does not belong in this case. The rest of the allegations

in the FAC, including the other seven Counts, all concern an alleged scheme by

Defendants to malign Mr. Dorworth and the supposed damages he suffered as a result.

By contrast, Count Eight solely targets a potential tort suit by A.B. settling the rights

between those two individual parties, without any relationship to the supposed

Greenberg Enterprise (once Mr. Dorworth’s duplicative and unconstitutional requests

are disregarded). Plaintiff cites no justification for this claim beyond A.B.’s mention

of a potential future lawsuit against him and her defense in this publicly filed lawsuit.

See FAC ¶¶ 479, 484. Put another way, resolution of the declaratory judgment claim

would not meaningfully assist in determining issues in this broader litigation.

      Moreover, there is no need for Plaintiff to litigate these issues in the present suit.

He could alternatively file a motion to dismiss or motion for summary judgment in

any potential future action by A.B. asserting the same arguments he anticipates

making here. See Angora Enterprises, Inc. v. Condominium Ass’n of Lakeside Village, Inc.,

796 F.2d 384, 387-88 (11th Cir. 1986) (observing that a court may refuse declaratory

relief if an alternative remedy exists that is better or more effective); Penn Tank Lines,

Inc. v. Jackson, 2018 WL 465977, at *4 (N.D. Ala. Jan. 18, 2018) (“The court finds that

declaratory relief serves no useful purpose in this action because, as noted above,


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Plaintiffs can obtain the same relief by filing a motion to dismiss invoking immunity if

Mr. Jackson brings his lawsuit against the estate.”). Plaintiff fails to offer any reason

why this Court should expand this case’s scope to litigate these issues now as opposed

to litigating them, in the normal course, should a suit be filed later.9 In the absence of

any such showing, this Court should “decline[] to give [Plaintiff] a general shield to

thwart future litigation.” Methelus, 2017 WL 3421470, at *3.

                                         CONCLUSION

          In light of the above, A.B. respectfully requests that the Court enter an Order

dismissing Counts Two, Four, Five, Seven, and Eight of the FAC against A.B., as well

as any further relief the Court deems just and appropriate. Prejudicial dismissal is

warranted as this is Plaintiff’s second verified complaint, and any further amendments

would be futile.



                        LOCAL RULE 3.01(g) CERTIFICATION

          I hereby certify that on August 28, 2023, counsel for Plaintiff (Christopher

Ford) conferred with counsel for Plaintiff via Zoom, who opposes the requested

relief.




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  And indeed, there are practical reasons to allow these claims to be resolved in the normal course.
Among other things, if this Court concluded that Mr. Dorworth is liable to A.B. for the alleged conduct
(or even that he cannot show he is not liable), then A.B. would be required to file her own lawsuit
anyway, as A.B would still need to establish the existence and extent of damages. Plaintiff fails to
show that resolving A.B.’s claims here would be more efficient even if he prevailed, but such a process
would undoubtedly be less efficient if he failed to establish his innocence.



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Dated: August 29, 2023          Respectfully submitted,

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      I hereby certify that on August 29, 2023, a copy of the foregoing document was

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